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                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
     SIMON PROPERTY GROUP, INC.,

                                     Plaintiff,
     -vs-                                                            Case No. 6:11-cv-01598-Orl-31KRS

     LYNNETTE LAURIA, et al.,

                                   Defendants.
     _____________________________________/

                                         REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT:

               This cause came on for consideration without oral argument on the following motion filed

     herein:

                  MOTION:        MOTION FOR SANCTIONS FOR SPOLIATION OF
                                 EVIDENCE AGAINST DEFENDANTS LYNNETTE
                                 LAURIA, RJL SERVICES, LLC, ARNELL, INC., AND
                                 SNOUTHOUND ENTERPRISES, LLC (Doc. No. 231)

                  FILED:         October 26, 2012

               This case comes before the Court on the motion for sanctions filed by Plaintiff Simon

     Property Group, Inc. (“Simon”), which motion is based on alleged spoliation of evidence by

     Defendant Lynnette Lauria (“Lauria”) and the companies associated with her – Defendants RJL

     Services, LLC (“RJL”), Arnell, Inc. (“Arnell”), and Snouthound Enterprises, LLC (“Snouthound”)

     (collectively referred to as the “Lauria Companies”). Neither Lauria nor the Lauria Companies had

     filed a response to the motion as of the writing of this Report and Recommendation, and the time
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     for responding has passed.1 Therefore, the facts on which the motion is based are not controverted

     and the relief requested is unopposed.

              This case has all the elements of a made-for-TV movie: A company vice president

     surreptitiously awards lucrative business deals to a series of entities that she and her immediate

     family members control. To cover up the egregious self-dealing, she fabricates multiple fictitious

     personas and then uses those fictitious personas to “communicate” with her employer on behalf of

     the entities she controls. She also cut-and-pastes her supervisor’s signature onto service

     agreements in an attempt to make it seem as if her activities have been approved. After several

     years, a whistleblower exposes the scheme to the company. The company then tells the vice

     president that she is being investigated and warns her not to destroy any documents or evidence.

     Sensing that her scheme is about to collapse around her and wanting to cover her tracks, the vice

     president then travels to the East Coast of Florida and throws her laptop computer containing

     information about these activities into a river.

              As improbable as they may be, these are the admitted and undisputed facts underlying the

     motion for sanctions. Simon asks that the Court find that Lauria and the Lauria Companies

     intentionally and in bad faith spoliated evidence crucial to this lawsuit and enter a default against

     Lauria on Counts I and III-VIII of the Second Amended Complaint and against RJL, Arnell, and

     Snouthound on Counts II-V of the Second Amended Complaint. Doc. No. 231 at 25. In the

     alternative, Simon asks that the Court give an adverse inference instruction against Lauria and the


              1
                  Counsel for Lauria and the Lauria Companies received notice of Plaintiff’s motion for sanctions and,
     thereafter, filed a document in the case joining in co-defendants’ opposition to another motion filed by Plaintiff (Doc.
     No. 237). Under these circumstances, the failure to respond to the present motion does not appear to have been the
     result of any excusable neglect.

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     Lauria Companies to the effect that all the allegations in the Second Amended Complaint are

     deemed admitted and strike Lauria and the Lauria Companies’ affirmative defenses. Id. In

     addition, Simon requests an award of reasonable attorneys’ fees and costs incurred as a result of

     the sanctionable conduct. Id.

            Simon filed its motion on October 26, 2012. In support of its motion, it filed:

            •       Excerpts from Lynnette Lauria’s deposition (at which she testified on her
                    own behalf and as the corporate representative of the Lauria Companies)
                    (Doc. No. 231-1);

            •       Simon’s Requests for Admission to Lauria and her responses (Doc. No.
                    231-2);

            •       Correspondence related to Simon’s investigation of Lauria (Doc. Nos. 231-3
                    through 231-5);

            •       Simon’s First Request for Production of Documents to Lauria (Doc. No.
                    231-6);

            •       Excerpts from the deposition of Rachael Lauria (one of Lauria’s daughters)
                    (Doc. No. 231-7);

            •       Lauria’s First Amended Answer to Simon’s Interrogatories (Doc. No. 231-
                    8);

            •       Excerpts from the deposition of Robert Lauria (Lauria’s husband) (Doc. No.
                    231-9); and

            •       Excerpts from the deposition of Sarah Lagi (another of Lauria’s daughters)
                    (Doc. No. 231-10).




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     I.      BACKGROUND.2

             Simon owns and operates shopping malls throughout the United States. Lauria is a former

     employee of Simon. Doc. No. 63 ¶ 27; Doc. No. 127 ¶ 27.3 Beginning in 2000, Lauria worked as

     the Marketing Director for the Florida Mall in Orlando. Id. In 2005, Simon promoted Lauria to

     the position of Regional Director of Marketing for Florida. Id. In 2007, Simon again promoted

     Lauria to the position of Vice President of Mall Marketing for the Florida and Puerto Rico

     Regions. Id. As relevant to the instant lawsuit, in this position, Lauria was responsible for

     locating outside marketing and advertising companies to provide general marketing services,

     brochure rack distribution, concierge services to hotels, and other marketing and advertising

     services. Doc. No. 63 ¶ 28; Doc. No. 127 ¶ 28. She was also responsible for negotiating service

     agreements with these companies. Id.

             At some point, Lauria began awarding some of Simon’s marketing and advertising work to

     a series of companies, including RJL, Arnell, Snouthound, and a variety of fictitious business

     entities, including Marketing Resource Network, XLM Marketing, Excell Services, XLM Excell,

     and PR Works. Doc. No. 63 ¶¶ 45, 47, 53, 63, 67, 73, 77, 82, 85, 93, 103, 105, 112, 115; Doc. No.

     127 ¶¶ 45, 47, 53, 67, 73, 77, 82, 85, 93, 103, 105, 112, 115; Doc. No. 231-1: Deposition of



             2
                 Except where indicated, all statements in this section have been admitted by Lauria.
             3
                  Simon filed an Amended Complaint on March 14, 2012. Doc. No. 63. Defendants Lynnette Lauria, Robert
     Lauria, Sarah Lagi, Rachael Lauria, RJL, Arnell, and Snouthound (collectively referred to as the “Lauria Defendants”)
     filed their respective answers to the Amended Complaint on May 1 and 2, 2012. Doc. Nos. 127-133. Simon
     subsequently filed a Second Amended Complaint on June 5, 2012, to add the names of some of the other defendants
     into the ad damnum clauses of Counts III, IV, and V. Doc. No. 147. The Second Amended Complaint was otherwise
     substantively identical to the Amended Complaint. The Lauria Defendants did not file answers to the Second Amended
     Complaint, apparently because the changes to the Second Amended Complaint did not involve allegations against
     them. Accordingly, this Report and Recommendation cites to the Amended Complaint, Doc. No. 63, and the Lauria
     Defendants’ answers to the original Amended Complaint, Doc. Nos. 127-133, as appropriate.

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     Lynnette Lauria (“Lauria Dep.”) at 184-85.4 All of these companies were owned by or associated

     with Lauria, her husband (Robert Lauria), and/or her daughter (Rachael Lauria). Id.; Doc. No.

     231-8 ¶¶ 2-3. Lauria did not disclose to Simon that she was awarding work to companies that were

     associated with her or her family members, and she did not require the Lauria Companies to go

     through Simon’s competitive bidding process before awarding them work. Doc. No. 231-8 ¶ 5;

     Doc. No. 231-2 at 6, 12 (Request for Admission 57 and response thereto). She also did not obtain

     approval from anyone at Simon to award work to the Lauria Companies. Doc. No. 231-8 ¶ 5.

     After awarding the work to the Lauria Companies, Lauria also – in her capacity as a Simon

     employee – approved invoices for work purportedly performed by the Lauria Companies for

     Simon. Doc. No. 63 ¶¶ 49, 55, 68, 77, 85, 97, 106, 117; Doc. No. 127 ¶¶ 49, 55, 68, 77, 85, 97,

     106, 117. In many cases, Lauria herself had created the invoices that she subsequently approved.

     Lauria Dep. at 34.

            Lauria knew that she was not supposed to be doing business with herself without Simon’s

     knowledge. Lauria Dep. at 106. To cover up the fact that she was self-dealing, Lauria fabricated

     several fictitious people – including “Susan Thomas” and “Deborah Batchelor” – to

     “communicate” with Simon on behalf of the Lauria Companies. Doc. No. 231-2 at 4-5, 10-11

     (Requests for Admission 29-37, 39-41 and responses thereto); Lauria Dep. at 105-06. Lauria

     created email accounts for “Susan Thomas” and “Deborah Batchelor” and then sent emails from

     those accounts to her Simon email address, including emails that contained invoices for payment to

     the Lauria Companies. Id. In other words, Lauria sent emails to herself from the “Susan Thomas”



            4
                For ease of reference, citations to all depositions are to the original deposition transcript page numbers.

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     and “Deborah Batchelor” personas to give Simon the impression that she was communicating with

     third parties. Lauria Dep. at 105-06. When asked at her deposition why she did this, Lauria

     testified, “Because I was not supposed to be doing business with myself without the company

     knowing.” Id. Lauria also created service agreements to give her business dealings the appearance

     of legitimacy. She signed the name of the fictitious person “Susan Thomas” to at least one of these

     agreements so that she could “hide the identity that [she] was involved with it.” Lauria Dep. at

     141-42.

            In addition to her dealings with the Lauria Companies, Lauria also – in her capacity as a

     Simon employee – awarded marketing work to a series of companies associated with Defendants

     Timothy Herman, Dale Takio, and Ryan Deming, including Image Marketing of FLA, Inc., Image

     Marketing of Florida, LLC, Image Marketing Group, Inc., Event Planners USA, Inc., DT Printing

     Solutions, LLC, Hat Marketing, LLC, Pointe Distribution, LLC, Takitik, Inc., Deming Kids Eat

     Free, Takio Kids Eat Free, EDL Management, Florida Tourism Distribution Services, Target

     Distribution, and TJI (collectively referred to as the “Image Companies”). Lauria fabricated

     service agreements with some of the Image Companies by cutting-and-pasting the signature of her

     superior at Simon onto the agreements to give the false impression that they had been approved.

     Lauria Dep. at 188, 248-61.

            Simon alleges that, in 2011, it received an email from a former employee of one of the

     Image Companies, describing a number of improper and fraudulent activities by Lauria, the Lauria

     Companies, and the Image Companies. Doc. No. 63 ¶¶153-54. For example, Simon alleges that

     the whistleblower claimed that Image Marketing was charging Simon up to ten times as much for

     its services as it charged other clients for comparable services and that Lauria received kickbacks

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     from the Image Companies in exchange for giving them this business. Id. Simon subsequently

     launched an investigation, during which, it alleges, it discovered Lauria’s interest in the Lauria

     Companies and a number of forged and fraudulent invoices from the Lauria Companies and the

     Image Companies. Id. ¶¶ 155-56.

             At some point after the investigation commenced, Lauria and Defendant Timothy Herman

     purchased the domain name “simonpropertyinc.com.” They then emailed the whistleblower from

     a “simonpropertyinc.com” address, pretending to be a Simon auditor and asking the whistleblower

     to send them all the information he had provided to Simon. Lauria Dep. at 158-61; Doc. No. 231-2

     at 6, 12 (Request for Admission 59 and response thereto). In further response to the investigation,

     Lauria also placed a false address for one of the Lauria Companies onto a service agreement so that

     the company would not appear to be associated with her. Lauria Dep. at 141-42. When asked why

     she did this, she testified:

             A:      That was after the audit started and I was trying to defer.

             Q:      Defer what?

             A:      Defer any – maybe defer is not the right word. The audit had started and I
                     was just trying to cover.

             Q:      Okay. Your tracks?

             A:      Yes.

     Id. at 142.




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              On August 1, 2011, Simon met with Lauria to inform her that she was being suspended.5

     At that meeting, Simon hand-delivered preservation demand letters to Lauria for the Lauria

     Companies and the fictitious business entities operated by Lauria (Marketing Resource Network,

     XLM Marketing, Excell Services, XLM Excell, and PR Works). Doc. No. 231 at 2. Those

     preservation demand letters notified Lauria and the Lauria Companies that Simon was launching

     an audit because it believed that it had paid for services that were not performed and/or were billed

     in violation of contract terms. Doc. No. 231-3 at 1-7. The letters also notified Lauria and the

     Lauria Companies that the Lauria Companies were “not to destroy, conceal, or alter any paper or

     electronic files and other data generated by and/or stored on [their] computers and storage

     media . . . , or any other electronic data.” Id. They stated, “Failure to comply with this notice and

     the terms of the contract may result in an action for breach of contract and potential liability for

     spoliation of evidence.” Id. Simon also sent the letters to the Lauria Companies and the fictitious

     entities’ addresses of record via overnight mail. Id.; Doc. No. 231 at 4 n.3.

              On August 5, 2011, Simon received a letter from an attorney purporting to represent Lauria

     with regard to Simon’s audit. Doc. No. 231-4. On August 8, 2011, Simon terminated Lauria’s

     employment for the activities at issue in this lawsuit. Doc. No. 231-5.

              The next day6, Lauria admittedly took her personal laptop computer – which contained

     business records for the Lauria Companies – to East Florida and threw it in the river near Satellite



              5
                The facts in this paragraph have been alleged by Simon and supported by documentary evidence. Neither
     Lauria nor the Lauria Companies offered evidence to counter these allegations. Accordingly, I take them as true for
     purposes of this Report and Recommendation.
              6
               Lauria testified at her deposition that she threw the laptop in the river “[t]he day after [she] was let go.”
     Lauria Dep. at 33.

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     Beach. Lauria Dep. at 31-34, 106-07, 203, 229-30. When asked why she threw the laptop away,

     Lauria testified as follows:

            Q:      Okay. Why did you throw the laptop away?

            A:      Because I knew that something was coming down and I just didn’t want all
                    the stuff around.

            Q:      So you were trying to get rid of documentation and e-mails and things?

            A:      Uh-huh, yes.

            Q:      That directly related to the lawsuit?

            A:      Yes. Now, they do, yes.

     Lauria Dep. at 32. Although Lauria threw the laptop into the river before Simon filed the instant

     lawsuit, she admitted that she knew that Simon was investigating her activities at the time that she

     destroyed the laptop. The record evidence further establishes that Simon had warned her not to

     destroy any documents or evidence. Id.; Doc. No. 231-3 at 1-7.

            After Lauria destroyed the laptop, Simon filed suit against her, the Lauria Companies, and

     a number of other individuals and entities. In the lawsuit, Simon alleges that Lauria was involved

     in a massive fraud scheme in which she used the Lauria Companies (and other associated entities)

     to charge Simon exorbitant fees (payments totaling in excess of $1,125,000) for little or no

     services and direct those fees to herself and her family members. Doc. No. 63 ¶ 44; Doc. No. 231

     at 4. It also alleges that Lauria and/or the Lauria Companies received kickbacks in exchange for

     awarding business to the Image Companies at exorbitant rates (payments totaling in excess of $2

     million) for little or no services. Doc. No. 63 ¶¶ 120-132.




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            Based on these allegations, Simon asserts claims for fraud, civil conspiracy, and conversion

     against Lauria and the Lauria Companies. It also asserts claims for breach of fiduciary duty, civil

     theft, and violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”) against

     Lauria individually, as well as a claim for aiding and abetting breach of fiduciary duty against the

     Lauria Companies. Doc. No. 147.

     II.    ANALYSIS.

            A.      Spoliation.

            Simon contends that Lauria (individually and as an agent of the Lauria Companies)

     intentionally and with bad faith spoliated data relevant to this lawsuit. “‘Spoliation’ is the

     ‘intentional destruction, mutilation, alteration, or concealment of evidence.’” Optowave Co. v.

     Nikitin, No. 6:05-cv-1083-Orl-22DAB, 2006 WL 3231422, at *7 (M.D. Fla. Nov. 7, 2006)(quoting

     Black’s Law Dictionary 1437 (8th ed. 2004)). Federal law governs the imposition of spoliation

     sanctions in this case, but state law may be consulted to guide the Court in its analysis. See

     Martinez v. Brink’s, Inc., 171 F. App’x 263, 268 n. 7 (11th Cir. 2006); Optowave, 2006 WL

     3231422, at * 8 (citing Flury v. Daimler Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005)).

            Generally, spoliation is established when the party seeking sanctions proves that: (1) the

     missing evidence existed at one time; (2) the alleged spoliator had a duty to preserve the evidence;

     and (3) the evidence was crucial to the movant being able to prove its prima facie case or defense.

     See Optowave, 2006 WL 3231422, at *8; Golden Yachts, Inc. v. Hall, 920 So.2d 777, 781 (Fla. 4th

     Dist. Ct. App. 2006).

            I recommend that the Court find that Simon has shown that spoliation occurred, as

     discussed in detail below.

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                       1.       Whether the Evidence Existed.

              With respect to the first element, the evidence submitted by Simon establishes that

     evidence relevant to this lawsuit was stored on the laptop that Lauria destroyed. Indeed, Lauria

     admitted as much. During her deposition, Lauria testified (as a corporate representative for RJL)

     that RJL utilized only one computer to do all of its business – the personal laptop that she threw in

     the river. She further testified that her laptop contained an Excel spreadsheet that recorded RJL’s

     business activities, including receipts and business expenditures. Lauria Dep. at 31-34, 106-07.

     Lauria admitted that neither she nor RJL has a copy of that spreadsheet. Id. at 106.7 Likewise,

     Lauria testified (as a corporate representative for Arnell) that any business records Arnell might

     have had were stored on the laptop that she threw into the river. Id. at 203. Thus, by Lauria’s

     admission, the laptop contained records that would have shown the alleged business activities of

     RJL and Arnell.

              With respect to Snouthound, Lauria testified (as the corporate representative of

     Snouthound) that it did not have its own computer that it used for billing. Id. at 227, 229-30.

     Lauria’s daughter, Rachael (who, on paper at least, was the owner of Snouthound), testified that,

     although she regularly deposited checks from Simon to Snouthound, she never created any



              7
                 Although Lauria did not explicitly so admit, her deposition testimony also strongly indicates that the laptop
     contained copies of lists (in spreadsheet form) and mailing labels that would show the hotels to which RJL allegedly
     distributed promotional materials on behalf of Simon. It also strongly suggests that the laptop contained copies of
     promotional materials that RJL allegedly distributed to hotels. Lauria Dep. at 94-96, 101. Lauria testified that the
     paper copies of distribution lists and mailing labels she produced in discovery were not complete or current and that the
     hotels included on the lists were “by no way all of them.” Id. at 94-95, 101. Instead, she testified that she had
     produced what she “could find.” Id. at 95. Likewise, Lauria testified that she created the promotional materials
     allegedly distributed by RJL. Id. at 95-97. Given that Lauria also testified that all RJL business was conducted on her
     laptop and absent any contrary evidence from Lauria or RJL, Lauria’s deposition testimony is sufficient to establish
     that the distribution lists, mailing labels, and promotional materials were also contained on the laptop that she threw in
     the river.

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     invoices to send to Simon requesting payment. Doc. No. 231-7 at 69. Instead, she assumed that

     “[her] mother was taking care of that.” Id. Lauria testified that she did PR work that she billed

     through PR Works, which was a d/b/a of Snouthound. Doc. No. 231-1 at 227-28, 230. Lauria also

     admitted that she set up an email address for Snouthound. Id. at 230. This evidence is sufficient to

     establish that Lauria’s laptop also contained billing and other records of Snouthound’s business

     activities.

                       2.       Duty to Preserve.

              Lauria and the Lauria Companies do not dispute that they had a duty to preserve the laptop

     at the time Lauria threw it in the river in Satellite Beach. Indeed, they cannot do so as a matter of

     law.

              A party has an obligation to retain relevant documents when litigation is reasonably

     anticipated. Se. Mech. Servs., Inc. v. Brody, No. 8:08-CV-1151-T-30EAJ, 2009 WL 2242395, at

     *2 (M.D. Fla. July 24, 2009); Optowave, 2006 WL 3231422, at *7-8 (citing Telectron, Inc. v.

     Overhead Door Corp., 116 F.R.D. 107, 126 (S.D. Fla. 1987)). In this case, on August 1, 2011,

     Simon informed both Lauria and the Lauria Companies that it was initiating a full audit of their

     marketing and promotional service agreements and that litigation might result. It also directed

     Lauria and the Lauria Companies not to destroy any evidence. These letters put Lauria and the

     Lauria Companies on notice that litigation was reasonably anticipated and triggered the duty to

     preserve. Optowave, 2006 WL 3231422, at *10.8



              8
                 Simon also submitted evidence strongly suggesting that – regardless of the preservation letters – Lauria, in
     fact, reasonably anticipated litigation after the August 1, 2011 meeting. Indeed, by August 5, 2011 (four days before
     the destruction of the laptop), she had hired counsel to represent her. Doc. No. 231-4.

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                    3.      Whether the Information was Crucial.

            Lauria and the Lauria Companies do not dispute that the laptop contained information that

     was crucial to Simon’s ability to prove its prima facie case against Lauria and the Lauria

     Companies. At the heart of all of Simon’s claims against Lauria and the Lauria Companies is the

     contention that the Lauria Companies and the fictitious entities created by Lauria were not

     performing all (or, perhaps, any) of the services for which Simon was paying and that, even if any

     of these entities were performing services, they were charging exorbitant rates. Thus, to establish

     its claims, Simon must be able to show what the Lauria Companies were actually doing so that it

     can compare those activities to the services for which the Lauria Companies and the fictitious

     entities billed Simon. By Lauria’s admission, any records of these business activities that existed

     were stored in the laptop that she destroyed.

            Compounding matters further, Lauria produced in discovery hard copies of documents (in

     spreadsheet form) purporting to list the hotels to which some of the Lauria Companies distributed

     promotional materials. She also produced hard copies of some of the promotional materials that

     were allegedly distributed to the hotels. Doc. No. 231 at 15; Lauria Dep. at 94-97. Simon

     contends that Lauria and the Lauria Companies did not distribute promotional materials to all (or

     any) of the hotels on the list. It also contends that Lauria fabricated the promotional materials and

     the distribution lists after-the-fact, in an attempt to make it seem as if the Lauria Companies

     provided services to Simon that they did not, in fact, provide. Doc. No. 231 at 15-16. The

     electronically stored information, including metadata, on the laptop would provide evidence of

     when these documents were created or that these documents were fabricated at a later date.

     Similarly, without the information stored on the laptop, Simon does not have evidence necessary to

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     impeach any testimony Lauria or others might give about the work that the Lauria Companies

     performed. Therefore, Simon has established that electronically stored information on the laptop is

     crucial to proving its claims against Lauria and the Lauria Companies.

            B.      Sanctions.

                    1.      Bad Faith.

            Simon requests sanctions for the spoliation of the laptop. In this circuit, sanctions for

     spoliation of evidence are appropriate “only when the absence of that evidence is predicated on

     bad faith. . . . ‘Mere negligence’ in losing or destroying the records is not enough for an adverse

     inference, as ‘it does not sustain an inference of consciousness of a weak case.’” Bashir v. Amtrak,

     119 F.3d 929, 931 (11th Cir. 1997) (quoting Vick v. Tex. Employment Comm’n, 514 F.2d 734, 737

     (5th Cir. 1975)).

            Lauria and the Lauria Companies have not objected to Simon’s characterization of the

     spoliation as being committed in bad faith or offered an alternative explanation for the destruction

     of the laptop. Indeed, this case appears to present a paradigmatic case of bad faith. After being

     notified of Simon’s investigation into her conduct and the conduct of the Lauria Companies and

     the duty to preserve evidence, Lauria knowingly and intentionally took the laptop to Satellite

     Beach and threw it into the river. As evidenced by her deposition testimony, she knew that the

     laptop contained the only records of the Lauria Companies’ business activities and, thus, the

     primary evidence by which Simon could objectively determine what work (if any) the Lauria

     Companies performed. There was no negligence or mistake, and there is no innocent explanation

     for her actions. On the contrary, this is the relatively rare case in which the spoliator admitted that

     she destroyed evidence because she knew “something was coming down,” she “didn’t want all that

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     stuff around,” and she was trying to get rid of documentation and emails that were directly relevant

     to the litigation. Lauria Dep. at 32. Lauria has essentially admitted that she purposely destroyed

     the laptop to prevent Simon from investigating her activities and the business activities of the

     Lauria Companies.

            The effect of Lauria’s actions was to eliminate permanently the main source of objective

     information about the Lauria Companies’ activities, thereby severely prejudicing Simon’s ability to

     prosecute this case and putting it in the position of having to rely on the testimony of an individual

     who has admitted to fabricating documents and even personas to “cover her tracks” in order to

     make out its claims. Lauria’s act of destroying the laptop (taken on her own behalf and on behalf

     of the Lauria Companies as their agent) is as flagrant, if not more so, than the actions taken by

     spoliators in other cases in which federal courts in Florida have found bad faith.

            Likewise, the prejudice to Simon is as serious, if not more so, than the prejudice existing in

     cases in which those courts found bad faith. See Britton v. Wal-Mart Stores East, L.P., No.

     4:11cv32-RH/WCS, 2011 WL 3236189, at *13 (N.D. Fla. June 8, 2011) (finding bad faith where

     spoliator consciously chose to permit video evidence of alleged shoplifting to be destroyed over

     time by failing to download it, knowing that legal claims relevant to video were forthcoming); Se.

     Mech. Servs., 657 F. Supp. 2d at 1300 (finding bad faith where spoliators had motive and

     opportunity to “wipe” data from their Blackberries); Swofford v. Eslinger, 671 F. Supp. 2d 1274,

     1281 (M.D. Fla. 2009) (finding bad faith where spoliators failed to direct employees to preserve

     evidence and, in at least one case, were directly responsible for spoliation by failing to sequester

     weapons used in incident and instead sending them back to manufacturer for disassembly). Bad



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     faith such as that present here sustains “an inference of consciousness of a weak case.” Bashir, 119

     F.3d at 931 (quoting Vick, 514 F.2d at 737).

              Accordingly, I recommend that the Court find that Simon has established that Lauria and

     the Lauria Companies’ acted in bad faith by destroying the laptop and that sanctions are warranted.

                       2.       Appropriate Sanctions.

              The Court has broad discretion to impose sanctions derived from its inherent power to

     manage its own affairs and to achieve the orderly and expeditious disposition of cases. Flury, 427

     F.3d at 944 (citing Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991)).9 The determination of an

     appropriate sanction should be made on a case-by-case basis. Optowave, 2006 WL 3231422, at

     *12 (citing Zubulake v. UBS Warburg LLC, 229 F.R.D. 422, 430 (S.D.N.Y. 2003)). Sanctions that

     may be imposed against a defendant for spoliation include, but are not limited to, the following:

     default judgment, adverse inference or rebuttable presumption instructions to the jury, striking

     pleadings, and an award of fees and costs incurred by the injured party as a result of the spoliation.

     See Flury, 427 F.3d at 944-45.

              Although federal law controls, the Court’s opinion on the appropriate sanction may be

     informed by state law, as long as it is consistent with federal law. Id. at 944. Under Florida law,

     the remedy for a party failing to produce crucial but unfavorable evidence that it destroyed is an

     adverse inference or discovery sanctions up to and including entry of a default judgment. See

     Martino v. Wal-Mart Stores, Inc., 908 So.2d 342, 346 (Fla. 2005) (citing Public Health Trust of



              9
                Federal Rule of Civil Procedure 37 also provides a wide range of possible sanctions for abuses of the
     discovery process. The analysis under Rule 37 and the Court’s inherent authority to impose sanctions are essentially
     the same, and the conclusion in this case would be the same. See Optowave, 2006 WL 3231422, at * 12 n. 15.

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     Dade Cty. v. Valcin, 507 So.2d 596, 599 (Fla. 1987) and Fla. R. Civ. P. 1.380 (b)(2)). When

     determining the severity of the sanctions to impose, the Court considers the following factors: “(1)

     the willfulness or bad faith of the party responsible for the loss or destruction of the evidence; (2)

     the degree of prejudice sustained by the opposing party; and (3) what is required to cure the

     prejudice.” St. Cyr v. Flying J Inc., No. 3:06-cv-13-33TEM, 2007 WL 1716365, at *4 (M.D. Fla.

     June 12, 2007) (citing Fleury v. Biomet, Inc., 865 So.2d 537, 539 (Fla. 2d Dist. Ct. App. 2003);

     Sponco Mfg., Inc. v. Alcover, 656 So.2d 629, 630 (Fla. 3d Dist. Ct. App. 1995)). In the Eleventh

     Circuit, the most severe sanctions (such as dismissal or default) should be exercised only when

     there is a showing of bad faith and lesser sanctions will not suffice. See Flury, 427 F.3d at 944-45.

     See also Telectron, 116 F.R.D. at 129 (quoting Wilson v. Volkswagen, 561 F.2d 494, 503 (4th Cir.

     1977)) (default judgment should be imposed only if less drastic sanctions cannot properly redress

     the wrongdoing).

            In this case, Simon seeks an entry of default against Lauria and the Lauria Companies as to

     the claims asserted against them. Neither Lauria nor the Lauria Companies have objected to

     Simon’s requested sanction. Entering a default is a less severe sanction that entry of a default

     judgment. Lauria and the Lauria Companies will still maintain the ability to defend on the issue of

     damages.

            Moreover, entering defaults against Lauria and the Lauria Companies is commensurate

     with the severity of their bad faith and the degree of prejudice to Simon. As explained above,

     Lauria’s conduct represents the essence of bad faith, and the prejudice to Simon is severe. In

     addition, there is no apparent way to cure the prejudice, as Lauria’s actions have – by her own

     admission – put the records of the Lauria Companies beyond the reach of Simon.

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            Finally, no lesser sanction will suffice. Indeed, Lauria’s actions are at least as flagrant as

     those of the plaintiff in Flury v. Daimler Chrysler, in which the Eleventh Circuit imposed the

     ultimate sanction of dismissal. In that case, the plaintiff knew that the defendant wished to

     examine the vehicle that later became the subject of a products liability action. Despite this, the

     plaintiff allowed the vehicle to be sold for salvage without notification to the defendant. Flury,

     427 F.3d at 945. In the instant case, Lauria (acting as the agent for the Lauria Companies) knew

     that Simon wanted to examine all business records of the Lauria Companies as part of its audit.

     She knew that litigation might be imminent (as evidenced by her receipt of Simon’s preservation

     letters). She knew that she did not want “all that stuff” on her laptop around as Simon began its

     investigation. Knowing all these things, Lauria, individually and as a representative of the Lauria

     Companies, deliberately destroyed the information stored in the laptop by driving to another

     location and throwing the laptop into a river thereby preventing Simon from being able to discover

     information that would allow it to prove its prima facie case. Following the rationale of Flury, I

     recommend that the Court find that the entry of default is an appropriate sanction.

            Simon also seeks an award of attorneys’ fees and costs as a sanction for the spoliation of

     electronically stored information contained on the laptop. As mentioned above, an award of

     attorneys’ fees and costs can be an appropriate sanction for spoliation. The record reflects that

     Simon has expended significant time and incurred costs to develop evidence of Lauria’s

     misconduct on behalf of herself and the Lauria Companies. Therefore, I recommend that the Court

     award Simon its reasonable attorneys’ fees and costs incurred as a result of the spoliation of

     electronically stored information contained on the laptop.




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     III.   RECOMMENDATION.

            For the reasons stated above, I RESPECTFULLY RECOMMEND that the Court

     GRANT Simon’s Motion for Sanctions for Spoliation of Evidence Against Defendants Lynnette

     Lauria, RJL Services, LLC, Arnell, Inc., and Snouthound Enterprises, LLC. Doc. No. 231. I

     further RECOMMEND that the Court DIRECT the Clerk of Court to enter a default against

     Lynnette Lauria as to Counts I and III-VIII of the Second Amended Complaint and to enter

     defaults against RJL Services, LLC, Arnell, Inc., and Snouthound Enterprises, LLC as to Counts

     II-V of the Second Amended Complaint. Additionally, I RECOMMEND the Court ORDER

     Lauria and the Lauria Companies to pay Simon the reasonable attorneys’ fees and costs it incurred

     relating to the spoliation motion in an amount either agreed to by the parties or as ordered by the

     Court. Finally, I RECOMMEND that the Court require Simon to confer with counsel for Lauria

     and the Lauria Companies in a good faith effort to resolve the amount of attorneys’ fees and costs

     to be paid and, if agreement is not reached, allow Simon to file a motion for assessment of

     attorneys’ fees and costs on those issues within the time established by the Court in its Order on

     this Report and Recommendation

            Failure to file written objections to the proposed findings and recommendations contained

     in this report within fourteen (14) days from the date of its filing shall bar an aggrieved party from

     attacking the factual findings on appeal.

            Recommended in Orlando, Florida on December 13th, 2012.

                                                                         Karla R. Spaulding
                                                                   KARLA R. SPAULDING
                                                             UNITED STATES MAGISTRATE JUDGE
     Copies furnished to:
     Presiding District Judge and Courtroom Deputy Clerk
     Counsel of Record
     Unrepresented Party

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